    Case: 1:19-cv-02058 Document #: 35 Filed: 06/01/19 Page 1 of 3 PageID #:425



                          IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

MERCIS B.V.,

        Plaintiff,                                         Case No.: 1:19-cv-2058

   v.                                                      Judge Robert W. Gettleman

THE PARTNERSHIPS AND UNINCORPORATED                        Magistrate Judge Sheila M. Finnegan
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

        Defendants.

                                   NOTICE OF DISMISSAL

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

                 NO.                                   DEFENDANT
                 575                                 Nevsky1982 Store
                 134                                  Stars of the world
                     61                                 lovestore2019
                     16                               imissyou1882013
                     18                            meihaochenguang2018
                 165                                      Meccion
                 126                                        nbxcl
                 132                         Shenzhen Kaigeli Trading Co., Ltd.
                 255                                 Bighomeshop Store
                 309                                  Dear~Baby Store
                 644                                Shenzhen RDF Store
                     9                               Metoo Dolls Store
                     6                                   Habao Store
                 458                             Jolin Decor Painting Store
   Case: 1:19-cv-02058 Document #: 35 Filed: 06/01/19 Page 2 of 3 PageID #:426



            597                       PANGDADA Wall Prints Store
            482                            KOMAY ART Store
            209                             Anime_gift Store
            699                            Shop4660013 Store




DATED: June 1, 2019                        Respectfully submitted,

                                           /s/ Keith A. Vogt
                                           Keith A. Vogt (Bar No. 6207971)
                                           Keith Vogt, Ltd.
                                           1033 South Blvd., Suite 200
                                           Oak Park, Illinois 60302
                                           Telephone: 708-203-4787
                                           E-mail: keith@vogtip.com

                                           ATTORNEY FOR PLAINTIFF
    Case: 1:19-cv-02058 Document #: 35 Filed: 06/01/19 Page 3 of 3 PageID #:427




                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on June 1, 2019 with the Clerk of the Court using the CM/ECF
system, which will automatically send an email notification of such filing to all registered attorneys
of record.

                                                      /s/ Keith A. Vogt
                                                      Keith A. Vogt
